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                      Exhibit 5
Case 2:12-md-02387 Document 2512-5 Filed 05/13/19 Page 2 of 5 PageID #: 19811
                           Bruce Rosenzweig, M.D.

     1               IN THE UNITED STATES DISTRICT COURT

     2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     3                          CHARLESTON DIVISION

     4

     5    ------------------------------)

     6    IN RE:    COLOPLAST CORP.             )   Master File No.:

     7    PELVIC SUPPORT SYSTEMS                )   2:12-MD-02387

     8    PRODUCTS LIABILITY LITIGATION )

     9    ------------------------------)           MDL No. 2387

    10    THIS DOCUMENT RELATES TO:             )

    11                                          )

    12    ALL COLOPLAST WAVE 5, 6 AND 7 )

    13    CASES                                 )

    14    ------------------------------)

    15

    16                  The deposition of BRUCE ROSENZWEIG, M.D.,

    17    called for examination, taken pursuant to the Federal

    18    Rules of Civil Procedure of the United States District

    19    Courts pertaining to the taking of depositions, taken

    20    before JULIANA F. ZAJICEK, a Registered Professional

    21    Reporter and a Certified Shorthand Reporter, at Suite

    22    1650, 444 West Lake Street, Chicago, Illinois, on

    23    May 2, 2019, at 8:00 a.m.

    24

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                           Bruce Rosenzweig, M.D.

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    24    REPORTED BY:      JULIANA F. ZAJICEK, C.S.R. NO. 84-2604.

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                           Bruce Rosenzweig, M.D.

     1    that the Plaintiffs provided to you?

     2          A.      I have -- there is no document from me

     3    that was in the custodial file, correct.

     4          Q.      Right.

     5                  You've never received any of those

     6    documents that you've reviewed that you believe came

     7    from Coloplast's, as you call it, custodial file,

     8    correct?

     9          A.      I had never -- excuse me?

    10          Q.      You had never received any of the internal

    11    documents that were produced in this litigation by

    12    Coloplast other than from the Plaintiffs' counsel,

    13    correct?

    14          A.      Correct.

    15          Q.      Now, you've never talked to anybody who

    16    wrote those documents that you read, correct?

    17          A.      Not that I specifically recall.

    18          Q.      And you have no personal knowledge as to

    19    why -- why they wrote those documents, correct?

    20          A.      I have knowledge of what the document

    21    states and --

    22          Q.      And that's not why it was written, was it?

    23                  My question was:       You have no personal

    24    knowledge as to why any Coloplast employee wrote the

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                           Bruce Rosenzweig, M.D.

     1    documents that you have read?

     2          A.      Besides what's in the document.

     3          Q.      Right.    You've just read the document,

     4    right?

     5          A.      Correct.

     6          Q.      Yeah.

     7                  The jury, men and women of the jury can

     8    read the document, correct?

     9          A.      Correct.

    10          Q.      And the jury -- I mean a judge could read

    11    the document as you have done, correct?

    12          A.      Correct.

    13          Q.      Now, you do use Coloplast's catheters in

    14    your regular practice, medical practice?

    15          A.      We used to.      We are using more -- mostly

    16    Bard catheters now.

    17          Q.      Do you use Coloplast's ostomy bags?

    18          A.      I do not think so.        We might have at one

    19    point.

    20          Q.      Do you use Coloplast's penile implants?

    21          A.      No.   I am not a urologist.

    22          Q.      Do you use any of Coloplast's wound care

    23    products?

    24          A.      We might have in the past.          I do not think

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